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                   IN THE UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

TIMOTHY L. KING,
      Plaintiff,
                                             CIVIL ACTION FILING NO.:
                     v.
TRUIST BANK,                                 1:23-CV-00095-JCF
      Defendant.




 TRUIST BANK’S STATEMENT OF UNDISPUTED MATERIAL FACTS

      Defendant Truist Bank (“Truist”) submits this Statement of Undisputed

Material Facts in Support of its Motion for Summary Judgment pursuant to Local

Rule 56.1.

      1.     Plaintiff Timothy L. King (“Plaintiff”) claims that Truist “erroneously

reported” two late payments on his Home Equity Line of Credit account, ending in

-5998 (“Account”) for April and May 2022. (Dkt. 1-1 at 5.)

      2.     Plaintiff opened the Account on October 28, 2021 by agreeing to the

Truist Equity Line Account Agreement and Disclosure Statement (“Account

Agreement”). (Exhibit A, Declaration of Lisa Young (“Young Decl.”), Ex. 1.)



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      3.     The Account Agreement provides that Plaintiff will receive periodic

statements for the Account that “will identify the Minimum Payment [he] must make

for that billing period and the date it is due.” Young Decl. Ex. 1 at 4. The periodic

statements show credit advances, finance charges, payments, other credits, the

previous balance, and the new balance on the Account. Id. at 3.

      4.     The Account Agreement makes clear that “[p]ayments in excess of your

Minimum Payment will not relieve you of your obligation to make your Minimum

Payments in the future. Instead, they will be applied to any Option and/or Advance

balance at Lender’s sole discretion.” Young Decl. Ex. 1 at 6. Plaintiff admitted that

the Account Agreement did not allow for payments in excess of the minimum

amount due to be applied to the next month’s payment. Exhibit B, Defendant Truist

Bank’s First Requests for Admission to Timothy L. King (“Truist RFA”) No. 5.

      5.     The Account statement dated January 30, 2022 reflects that a minimum

payment of $1,153.22 was due on February 25, 2022. Young Decl. Ex. 2; Truist

RFA No. 1.

      6.     An interim Account statement dated February 21, 2022 shows that a

payment of $1,600 was made on the Account on February 3, 2022. Young Decl. Ex.

3; Truist RFA No. 2.




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      7.    The February 21, 2022 interim Account statement does not reflect any

late fees assessed on the Account. Young Decl. Ex. 3. Plaintiff admitted that Truist

did not assess late fees on the Account in February 2022. Truist RFA No. 8.

      8.    The February 3, 2022 payment of $1,600 satisfied the amount due on

the Account for February 25, 2022. Young Decl. ¶ 8; Ex. 2.

      9.    The Account statement dated February 28, 2022 shows that $676.96

was due on the Account by March 25, 2022. Young Decl. Ex. 4; Truist RFA No. 3.

      10.   The February 28, 2022 Account statement does not reflect any late fees

assessed on the Account. Young Decl. Ex. 4. Plaintiff admitted that Truist did not

assess late fees on the Account in February 2022. Truist RFA No. 8.

      11.   The statement dated March 31, 2022 shows that no payment was made

on the Account in March 2022. Young Decl. Ex. 5. Plaintiff admitted that he made

no payment on the Account in March 2022. Truist RFA No. 4.

      12.   The January 30, 2022 and February 21, 2022 Account statements did

not allow for payments in excess of the minimum amount due to be applied to the

next month’s payment. Young Decl. Ex. 2 at 1; Ex. 3 at 1. The statements allowed

only for additional payments to be made to the principal, and made clear that the

minimum payment must be made before additional amounts would be applied to

principal. Id. Plaintiff admitted that the Account statements did not allow for

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payments in excess of the minimum amount due to be applied to the next month’s

payment. Truist RFA No. 6.

      13.   Even if Plaintiff’s $1,600 payment on February 3, 2022 could have been

used to pay both his February and March 2022 obligations, that payment would not

have satisfied the amounts due for both February 25, 2022 ($1,153.22) and March

25, 2022 ($676.96), which totaled $1,830.18. Young Decl. ¶ 11; Ex. 2, 4. Plaintiff

admitted the same. Truist RFA No. 7.

      14.   The March 31, 2022 Account statement does not reflect any late fees

assessed on the Account. Young Decl. Ex. 5. Plaintiff admitted that Truist did not

assess late fees on the Account in March 2022. Truist RFA No. 8.

      15.   The statement dated March 31, 2022 shows that the Account was due

for $1,353.92 on April 25, 2022. Young Decl. Ex. 5; Truist RFA No. 9.

      16.   On April 26, 2022, Truist sent Plaintiff a letter stating it had not

received the required payment for March 25, 2022 and that he owed $1,353.92 on

the Account. Young Decl. Ex. 6.

      17.   The statement dated April 30, 2022 reflects a $930 payment made on

the Account on April 28, 2022. Young Decl. Ex. 7; Truist RFA No. 10.

      18.   The $930 payment was not only made past the payment deadlines for

both March and April, but it was not enough to cover the minimum amount due on

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the Account on April 25, 2022: $1,353.92. Young Decl. ¶ 14; Ex. 5–7. Plaintiff

admitted the $930 payment was not enough to cover the amount due. Truist RFA

No. 11.

      19.   As of April 25, 2022, the Account was 30 days past due for the March

2022 payment. Young Decl. ¶ 15; Ex. 5–7.

      20.   The April 30, 2022 statement shows that a payment of $1,134.72 was

due on May 25, 2022. Young Decl. Ex. 7; Truist RFA No. 12. It also shows that a

late fee of $33.84 was assessed on April 4, 2022. Young Decl. Ex. 7.

      21.   The statement dated May 31, 2022 shows that no payment was made

on the Account in May 2022. Young Decl. Ex. 8. Plaintiff admitted he made no

payment on the Account in May 2022. Truist RFA No. 13.

      22.   When Plaintiff failed to make a payment in May 2022, the Account

became 60 days past due for the March 2022 payment and 30 days past due for the

April 2022 payment. Young Decl. ¶ 17; Ex. 5–7.

      23.   On May 24, 2022, Truist sent Plaintiff a letter stating the Account was

two payments past due. Young Decl. Ex. 9.

      24.   In June and July 2022, Plaintiff disputed Truist’s reporting of the late

payments on the Account with the consumer reporting agencies (“CRAs”). Young




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Decl. Ex. 10; 11. Plaintiff claimed in the first dispute that Truist received adequate

payments and that the Account was current. Young Decl. Ex. 10.

      25.    The CRAs then forwarded Plaintiff’s disputes to Truist, as the furnisher

of the Account information, for investigation. The CRAs sent the disputes to Truist

via automated credit dispute verification (“ACDV”) forms. Young Decl. Exs. 10,

11.

      26.    On July 14, 2022, Truist responded to the first ACDV from Plaintiff,

which Truist received from CRA Experian. Young Decl. Ex. 10. Truist’s ACDV

response reflected that the Account was one month late in April 2022 by placing a

“1” in the April 2022 payment history box, and two months late in May 2022 by

placing a “2” in the May 2022 payment history box. Id. Under industry guidance,

“1” is used to show an account is 30–59 days past due, and “2” is used to indicate

an account is 60–89 days past due. Exhibit C, Excerpts from 2022 Credit Reporting

Resource Guide, Consumer Data Industry Association, at 4-11.

      27.    On August 5, 2022, Truist responded to a second ACDV, this time from

CRA Trans Union. Young Decl. Ex. 11. Truist’s second ACDV response reflected

that the Account was one month late in May 2022 by including a “1” in the May

2022 payment history box. Id.




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      28.    By August 31, 2022, the information that Truist furnished to the credit

bureaus no longer showed late payments for April and May 2022. Young Decl. ¶ 21.

Plaintiff admitted that in August 2022, Truist no longer reported the late payments

alleged in the Complaint. Truist RFA No. 14.

      29.    Plaintiff admitted that he was not declined credit between July 14, 2022,

when Truist responded to the first ACDV, and August 2022, at which time Truist

had stopped reporting the late payments alleged in the Complaint. Truist RFA No.

15.

      30.    Plaintiff has submitted no evidence of damages caused by the FCRA

violation he alleges.

      Respectfully submitted this 16th day of October, 2023.

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             CERTIFICATE OF SERVICE AND COMPLIANCE
      I hereby certify that on October 16th 2023, I electronically filed Truist Bank’s

Statement of Undisputed Material Facts with the Clerk of Court using the CM/ECF

system which will automatically send email notification of such filing to the

following attorney(s) of record:

      Chaka Michael Douglas                   Harold L. Johnson
      cmdouglas@wd-law.net                    hljohnson@wd-law.net


      I further certify that I prepared this document in 14 point Times New Roman

font and complied with the margin and type requirements of this Court.

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